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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI DIVISION

                                   CASE NO.: 19-cv-25155-UU

  LAZARO LOPEZ, ELOY BURGUES,
  GIAN CARLOS ARENCIBA and
  LAZARO PEREZ, on behalf of themselves,
  individually, and on behalf of all others
  similarly situated who consent to their
  inclusion,

         Plaintiffs,

  vs.

  ELITE HVAC GROUP, LLC,
  AIR PROS BLUE STAR, LLC,
  AIR PROS SOLUTIONS, LLC and
  AIR PROS, LLC,

        Defendants.
  ________________________________________________________/

                 DEFENDANT AIR PROS SOLUTIONS, LLC’S
    ANSWER AND AFFIRMATIVE DEFENSES TO SECOND AMENDED COMPLAINT

         Defendant, AIR PROS SOLUTIONS, LLC (“Defendant”), files its Answer and

  Affirmative Defenses to Plaintiffs’ Second Amended Complaint [DE 52] as follows:

                                     JURISDICTION AND VENUE

         1. Defendant admits that Plaintiffs purport to bring a legal action against Defendant but

  denies any wrongdoing or liability and demands strict proof thereof.

         2. Defendant admits that this Court has jurisdiction over this matter but denies any

  wrongdoing or liability and demands strict proof thereof.

         3. Defendant consents to venue in this Court but denies any wrongdoing or liability and

  demands strict proof thereof.
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         4. Denied where Defendant did not employ all the Plaintiffs, inclusive of Opt-In

  Plaintiffs, that are part of this action. Specifically, Defendant only employed (or still employs) the

  following individuals: Alfredo Justiz, Antonio Atiles, Dunieski Gonzalez, Elieser Perez, Feslio

  Francois, Gabriel Guzman, Jimmy Velazquez, Jorge Cruz, Jose Mejia, Jose Mejia, Jose Quesada,

  Juan Arguez, Manfred Oliva, Maria Aguilar, Yosbel Milan, Terrance Gaines, Roger Brooks,

  Rodolfo Torres, Ramon Jiron, Raul Gimenez, Ismely Alonso, Myriam Arreaga, and Misael

  Noriega. However, Defendant denies any claims asserted against it as it pertains to these plaintiffs

  where none of these plaintiffs filed claims, or otherwise alerted the Court to claims, in connection

  to their employment with Defendant as all the wage and hour claims asserted in this action arise

  prior to November 1, 2019 (the date Defendant became the employer). See DE 13.

                                                PARTIES

         5.   Denied where Defendant did not employ all the Plaintiffs, inclusive of Opt-In

  Plaintiffs, that are part of this action. Specifically, Defendant only employed (or still employs) the

  following individuals: Alfredo Justiz, Antonio Atiles, Dunieski Gonzalez, Elieser Perez, Feslio

  Francois, Gabriel Guzman, Jimmy Velazquez, Jorge Cruz, Jose Mejia, Jose Mejia, Jose Quesada,

  Juan Arguez, Manfred Oliva, Maria Aguilar, Yosbel Milan, Terrance Gaines, Roger Brooks,

  Rodolfo Torres, Ramon Jiron, Raul Gimenez, Ismely Alonso, Myriam Arreaga, and Misael

  Noriega. However, Defendant denies any claims asserted against it as it pertains to these plaintiffs

  where none of these plaintiffs filed claims, or otherwise alerted the Court to claims, in connection

  to their employment with Defendant as all the wage and hour claims asserted in this action arise

  prior to November 1, 2019 (the date Defendant became the employer). See DE 13.




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          6. Without knowledge as to LOPEZ’s residence, therefore denied. Denied that LOPEZ

  ever worked for Defendant. Further, Defendant denies any wrongdoing or liability and demands

  strict proof thereof

          7. Without knowledge as to BURGEUS’s residence, therefore denied. Denied that

  BURGUES ever worked for Defendant. Further, Defendant denies any wrongdoing or liability and

  demands strict proof thereof

          8. Without knowledge as to ARENCIBIA’s residence, therefore denied. Denied that

  ARENCIBIA ever worked for Defendant. Further, Defendant denies any wrongdoing or liability

  and demands strict proof thereof

          9. Without knowledge as to PEREZ’s residence, therefore denied. Denied that PEREZ

  ever worked for Defendant. Further, Defendant denies any wrongdoing or liability and demands

  strict proof thereof

          10. Without knowledge as to Plaintiffs’ residences, therefore denied. Further, denied

  where Defendant did not employ all the Plaintiffs, inclusive of Opt-In Plaintiffs, that are part of

  this action. Specifically, Defendant only employed (or still employs) the following individuals:

  Alfredo Justiz, Antonio Atiles, Dunieski Gonzalez, Elieser Perez, Feslio Francois, Gabriel

  Guzman, Jimmy Velazquez, Jorge Cruz, Jose Mejia, Jose Mejia, Jose Quesada, Juan Arguez,

  Manfred Oliva, Maria Aguilar, Yosbel Milan, Terrance Gaines, Roger Brooks, Rodolfo Torres,

  Ramon Jiron, Raul Gimenez, Ismely Alonso, Myriam Arreaga, and Misael Noriega. However,

  Defendant denies any claims asserted against it as it pertains to these plaintiffs where none of these

  plaintiffs filed claims, or otherwise alerted the Court to claims, in connection to their employment

  with Defendant as all the wage and hour claims asserted in this action arise prior to November 1,



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  2019 (the date Defendant became the employer). See DE 13. Further, Defendant denies any

  wrongdoing or liability and demands strict proof thereof

         11. Denied where Defendant did not employ all the Plaintiffs, inclusive of Opt-In

  Plaintiffs, that are part of this action. Specifically, Defendant only employed (or still employs) the

  following individuals: Alfredo Justiz, Antonio Atiles, Dunieski Gonzalez, Elieser Perez, Feslio

  Francois, Gabriel Guzman, Jimmy Velazquez, Jorge Cruz, Jose Mejia, Jose Mejia, Jose Quesada,

  Juan Arguez, Manfred Oliva, Maria Aguilar, Yosbel Milan, Terrance Gaines, Roger Brooks,

  Rodolfo Torres, Ramon Jiron, Raul Gimenez, Ismely Alonso, Myriam Arreaga, and Misael

  Noriega. However, Defendant denies any claims asserted against it as it pertains to these plaintiffs

  where none of these plaintiffs filed claims, or otherwise alerted the Court to claims, in connection

  to their employment with Defendant as all the wage and hour claims asserted in this action arise

  prior to November 1, 2019 (the date Defendant became the employer). See DE 13. Further,

  Defendant denies any wrongdoing or liability and demands strict proof thereof.

         12. Denied where Defendant did not employ all the Plaintiffs, inclusive of Opt-In

  Plaintiffs, that are part of this action. Specifically, Defendant only employed (or still employs) the

  following individuals: Alfredo Justiz, Antonio Atiles, Dunieski Gonzalez, Elieser Perez, Feslio

  Francois, Gabriel Guzman, Jimmy Velazquez, Jorge Cruz, Jose Mejia, Jose Mejia, Jose Quesada,

  Juan Arguez, Manfred Oliva, Maria Aguilar, Yosbel Milan, Terrance Gaines, Roger Brooks,

  Rodolfo Torres, Ramon Jiron, Raul Gimenez, Ismely Alonso, Myriam Arreaga, and Misael

  Noriega. However, Defendant denies any claims asserted against it as it pertains to these plaintiffs

  where none of these plaintiffs filed claims, or otherwise alerted the Court to claims, in connection

  to their employment with Defendant as all the wage and hour claims asserted in this action arise



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  prior to November 1, 2019 (the date Defendant became the employer). See DE 13. Further,

  Defendant denies any wrongdoing or liability and demands strict proof thereof.

         13. Without knowledge, therefore denied.

         14. Without knowledge, therefore denied.

         15. Admitted only to the extent this paragraph correctly states Defendant’s principle

  address. Apart from that, Defendant denies any wrongdoing or liability and demands strict proof

  thereof.

         16. Denied.

         17. Admitted.

         18. Denied.

         19. Without knowledge as to the annual gross collective income of the co-defendants,

  therefore denied.

         20. Without knowledge, therefore denied.

         21. Without knowledge, therefore denied.

         22. Denied.

         23. Denied.

                                            CLASS DEFINITIONS

         24. Admit that Plaintiffs attempt to bring such a claim against Defendant but denied as to

  any wrongdoing or liability and demands strict proof thereof. Further, denied where Defendant

  did not employ all the Plaintiffs, inclusive of Opt-In Plaintiffs, that are part of this action.

  Specifically, Defendant only employed (or still employs) the following individuals: Alfredo Justiz,

  Antonio Atiles, Dunieski Gonzalez, Elieser Perez, Feslio Francois, Gabriel Guzman, Jimmy

  Velazquez, Jorge Cruz, Jose Mejia, Jose Mejia, Jose Quesada, Juan Arguez, Manfred Oliva, Maria

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  Aguilar, Yosbel Milan, Terrance Gaines, Roger Brooks, Rodolfo Torres, Ramon Jiron, Raul

  Gimenez, Ismely Alonso, Myriam Arreaga, and Misael Noriega. However, Defendant denies any

  claims asserted against it as it pertains to these plaintiffs where none of these plaintiffs filed claims,

  or otherwise alerted the Court to claims, in connection to their employment with Defendant as all

  the wage and hour claims asserted in this action arise prior to November 1, 2019 (the date

  Defendant became the employer). See DE 13. Further, Defendant denies any wrongdoing or

  liability and demands strict proof thereof.

          25. Denied.

          26. Without knowledge as to Plaintiffs’ beliefs, therefore denied.

          27. Denied. Further, denied where Defendant did not employ all the Plaintiffs, inclusive

  of Opt-In Plaintiffs, that are part of this action. Specifically, Defendant only employed (or still

  employs) the following individuals: Alfredo Justiz, Antonio Atiles, Dunieski Gonzalez, Elieser

  Perez, Feslio Francois, Gabriel Guzman, Jimmy Velazquez, Jorge Cruz, Jose Mejia, Jose Mejia,

  Jose Quesada, Juan Arguez, Manfred Oliva, Maria Aguilar, Yosbel Milan, Terrance Gaines, Roger

  Brooks, Rodolfo Torres, Ramon Jiron, Raul Gimenez, Ismely Alonso, Myriam Arreaga, and

  Misael Noriega. However, Defendant denies any claims asserted against it as it pertains to these

  plaintiffs where none of these plaintiffs filed claims, or otherwise alerted the Court to claims, in

  connection to their employment with Defendant as all the wage and hour claims asserted in this

  action arise prior to November 1, 2019 (the date Defendant became the employer). See DE 13.

  Further, Defendant denies any wrongdoing or liability and demands strict proof thereof.

                                          GENERAL ALLEGATIONS

          28. Denied.

          29. Denied.

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          30. Denied.

          31. Denied.

          32. Denied.

          33. Denied.

                     COLLECTIVE ACTION ALLEGATIONS UNDER THE FLSA

          34. Admit that Plaintiffs attempt to bring such a claim against Defendant but denied as to

  any wrongdoing or liability and demands strict proof thereof. Further, denied where Defendant

  did not employ all the Plaintiffs, inclusive of Opt-In Plaintiffs, that are part of this action.

  Specifically, Defendant only employed (or still employs) the following individuals: Alfredo Justiz,

  Antonio Atiles, Dunieski Gonzalez, Elieser Perez, Feslio Francois, Gabriel Guzman, Jimmy

  Velazquez, Jorge Cruz, Jose Mejia, Jose Mejia, Jose Quesada, Juan Arguez, Manfred Oliva, Maria

  Aguilar, Yosbel Milan, Terrance Gaines, Roger Brooks, Rodolfo Torres, Ramon Jiron, Raul

  Gimenez, Ismely Alonso, Myriam Arreaga, and Misael Noriega. However, Defendant denies any

  claims asserted against it as it pertains to these plaintiffs where none of these plaintiffs filed claims,

  or otherwise alerted the Court to claims, in connection to their employment with Defendant as all

  the wage and hour claims asserted in this action arise prior to November 1, 2019 (the date

  Defendant became the employer). See DE 13. Further, Defendant denies any wrongdoing or

  liability and demands strict proof thereof.

          35. Denied.

          36. Denied.

          37. Without knowledge as to Plaintiffs’ belief, therefore denied. Further, denied where

  Defendant did not employ all the Plaintiffs, inclusive of Opt-In Plaintiffs, that are part of this

  action. Specifically, Defendant only employed (or still employs) the following individuals:

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  Alfredo Justiz, Antonio Atiles, Dunieski Gonzalez, Elieser Perez, Feslio Francois, Gabriel

  Guzman, Jimmy Velazquez, Jorge Cruz, Jose Mejia, Jose Mejia, Jose Quesada, Juan Arguez,

  Manfred Oliva, Maria Aguilar, Yosbel Milan, Terrance Gaines, Roger Brooks, Rodolfo Torres,

  Ramon Jiron, Raul Gimenez, Ismely Alonso, Myriam Arreaga, and Misael Noriega. However,

  Defendant denies any claims asserted against it as it pertains to these plaintiffs where none of these

  plaintiffs filed claims, or otherwise alerted the Court to claims, in connection to their employment

  with Defendant as all the wage and hour claims asserted in this action arise prior to November 1,

  2019 (the date Defendant became the employer). See DE 13. Further, Defendant denies any

  wrongdoing or liability and demands strict proof thereof.

          38. Denied.

          39. Denied (including all subparts). Further, denied where Defendant did not employ all

  the Plaintiffs, inclusive of Opt-In Plaintiffs, that are part of this action. Specifically, Defendant

  only employed (or still employs) the following individuals: Alfredo Justiz, Antonio Atiles,

  Dunieski Gonzalez, Elieser Perez, Feslio Francois, Gabriel Guzman, Jimmy Velazquez, Jorge

  Cruz, Jose Mejia, Jose Mejia, Jose Quesada, Juan Arguez, Manfred Oliva, Maria Aguilar, Yosbel

  Milan, Terrance Gaines, Roger Brooks, Rodolfo Torres, Ramon Jiron, Raul Gimenez, Ismely

  Alonso, Myriam Arreaga, and Misael Noriega. However, Defendant denies any claims asserted

  against it as it pertains to these plaintiffs where none of these plaintiffs filed claims, or otherwise

  alerted the Court to claims, in connection to their employment with Defendant as all the wage and

  hour claims asserted in this action arise prior to November 1, 2019 (the date Defendant became

  the employer). See DE 13. Further, Defendant denies any wrongdoing or liability and demands

  strict proof thereof.

          40. Denied.

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         41. Denied. Further, denied where Defendant did not employ all the Plaintiffs, inclusive

  of Opt-In Plaintiffs, that are part of this action. Specifically, Defendant only employed (or still

  employs) the following individuals: Alfredo Justiz, Antonio Atiles, Dunieski Gonzalez, Elieser

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  Jose Quesada, Juan Arguez, Manfred Oliva, Maria Aguilar, Yosbel Milan, Terrance Gaines, Roger

  Brooks, Rodolfo Torres, Ramon Jiron, Raul Gimenez, Ismely Alonso, Myriam Arreaga, and

  Misael Noriega. However, Defendant denies any claims asserted against it as it pertains to these

  plaintiffs where none of these plaintiffs filed claims, or otherwise alerted the Court to claims, in

  connection to their employment with Defendant as all the wage and hour claims asserted in this

  action arise prior to November 1, 2019 (the date Defendant became the employer). See DE 13.

  Further, Defendant denies any wrongdoing or liability and demands strict proof thereof.

         42. Denied. Further, denied where Defendant did not employ all the Plaintiffs, inclusive

  of Opt-In Plaintiffs, that are part of this action. Specifically, Defendant only employed (or still

  employs) the following individuals: Alfredo Justiz, Antonio Atiles, Dunieski Gonzalez, Elieser

  Perez, Feslio Francois, Gabriel Guzman, Jimmy Velazquez, Jorge Cruz, Jose Mejia, Jose Mejia,

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  Brooks, Rodolfo Torres, Ramon Jiron, Raul Gimenez, Ismely Alonso, Myriam Arreaga, and

  Misael Noriega. However, Defendant denies any claims asserted against it as it pertains to these

  plaintiffs where none of these plaintiffs filed claims, or otherwise alerted the Court to claims, in

  connection to their employment with Defendant as all the wage and hour claims asserted in this

  action arise prior to November 1, 2019 (the date Defendant became the employer). See DE 13.

  Further, Defendant denies any wrongdoing or liability and demands strict proof thereof.



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          43. Denied. Further, denied where Defendant did not employ all the Plaintiffs, inclusive

  of Opt-In Plaintiffs, that are part of this action. Specifically, Defendant only employed (or still

  employs) the following individuals: Alfredo Justiz, Antonio Atiles, Dunieski Gonzalez, Elieser

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  Brooks, Rodolfo Torres, Ramon Jiron, Raul Gimenez, Ismely Alonso, Myriam Arreaga, and

  Misael Noriega. However, Defendant denies any claims asserted against it as it pertains to these

  plaintiffs where none of these plaintiffs filed claims, or otherwise alerted the Court to claims, in

  connection to their employment with Defendant as all the wage and hour claims asserted in this

  action arise prior to November 1, 2019 (the date Defendant became the employer). See DE 13.

  Further, Defendant denies any wrongdoing or liability and demands strict proof thereof.

          44. Denied. Further, denied where Defendant did not employ all the Plaintiffs, inclusive

  of Opt-In Plaintiffs, that are part of this action. Specifically, Defendant only employed (or still

  employs) the following individuals: Alfredo Justiz, Antonio Atiles, Dunieski Gonzalez, Elieser

  Perez, Feslio Francois, Gabriel Guzman, Jimmy Velazquez, Jorge Cruz, Jose Mejia, Jose Mejia,

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  Misael Noriega. However, Defendant denies any claims asserted against it as it pertains to these

  plaintiffs where none of these plaintiffs filed claims, or otherwise alerted the Court to claims, in

  connection to their employment with Defendant as all the wage and hour claims asserted in this

  action arise prior to November 1, 2019 (the date Defendant became the employer). See DE 13.

  Further, Defendant denies any wrongdoing or liability and demands strict proof thereof.



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          45. Denied. Further, denied where Defendant did not employ all the Plaintiffs, inclusive

  of Opt-In Plaintiffs, that are part of this action. Specifically, Defendant only employed (or still

  employs) the following individuals: Alfredo Justiz, Antonio Atiles, Dunieski Gonzalez, Elieser

  Perez, Feslio Francois, Gabriel Guzman, Jimmy Velazquez, Jorge Cruz, Jose Mejia, Jose Mejia,

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  Misael Noriega. However, Defendant denies any claims asserted against it as it pertains to these

  plaintiffs where none of these plaintiffs filed claims, or otherwise alerted the Court to claims, in

  connection to their employment with Defendant as all the wage and hour claims asserted in this

  action arise prior to November 1, 2019 (the date Defendant became the employer). See DE 13.

  Further, Defendant denies any wrongdoing or liability and demands strict proof thereof.

                                        COUNT I
        Failure to Pay Overtime Compensation in Violation of the FLSA 29 U.S.C. § 207

          46.     Defendant incorporates by reference its answers and denials to paragraphs 1

  through 45 as if fully set forth herein.

          47. Denied. Further, denied where Defendant did not employ all the Plaintiffs, inclusive

  of Opt-In Plaintiffs, that are part of this action. Specifically, Defendant only employed (or still

  employs) the following individuals: Alfredo Justiz, Antonio Atiles, Dunieski Gonzalez, Elieser

  Perez, Feslio Francois, Gabriel Guzman, Jimmy Velazquez, Jorge Cruz, Jose Mejia, Jose Mejia,

  Jose Quesada, Juan Arguez, Manfred Oliva, Maria Aguilar, Yosbel Milan, Terrance Gaines, Roger

  Brooks, Rodolfo Torres, Ramon Jiron, Raul Gimenez, Ismely Alonso, Myriam Arreaga, and

  Misael Noriega. However, Defendant denies any claims asserted against it as it pertains to these

  plaintiffs where none of these plaintiffs filed claims, or otherwise alerted the Court to claims, in

  connection to their employment with Defendant as all the wage and hour claims asserted in this
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  action arise prior to November 1, 2019 (the date Defendant became the employer). See DE 13.

  Further, Defendant denies any wrongdoing or liability and demands strict proof thereof.

          48. Denied. Further, denied where Defendant did not employ all the Plaintiffs, inclusive

  of Opt-In Plaintiffs, that are part of this action. Specifically, Defendant only employed (or still

  employs) the following individuals: Alfredo Justiz, Antonio Atiles, Dunieski Gonzalez, Elieser

  Perez, Feslio Francois, Gabriel Guzman, Jimmy Velazquez, Jorge Cruz, Jose Mejia, Jose Mejia,

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  Misael Noriega. However, Defendant denies any claims asserted against it as it pertains to these

  plaintiffs where none of these plaintiffs filed claims, or otherwise alerted the Court to claims, in

  connection to their employment with Defendant as all the wage and hour claims asserted in this

  action arise prior to November 1, 2019 (the date Defendant became the employer). See DE 13.

  Further, Defendant denies any wrongdoing or liability and demands strict proof thereof.

          49. Denied. Further, denied where Defendant did not employ all the Plaintiffs, inclusive

  of Opt-In Plaintiffs, that are part of this action. Specifically, Defendant only employed (or still

  employs) the following individuals: Alfredo Justiz, Antonio Atiles, Dunieski Gonzalez, Elieser

  Perez, Feslio Francois, Gabriel Guzman, Jimmy Velazquez, Jorge Cruz, Jose Mejia, Jose Mejia,

  Jose Quesada, Juan Arguez, Manfred Oliva, Maria Aguilar, Yosbel Milan, Terrance Gaines, Roger

  Brooks, Rodolfo Torres, Ramon Jiron, Raul Gimenez, Ismely Alonso, Myriam Arreaga, and

  Misael Noriega. However, Defendant denies any claims asserted against it as it pertains to these

  plaintiffs where none of these plaintiffs filed claims, or otherwise alerted the Court to claims, in

  connection to their employment with Defendant as all the wage and hour claims asserted in this



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  action arise prior to November 1, 2019 (the date Defendant became the employer). See DE 13.

  Further, Defendant denies any wrongdoing or liability and demands strict proof thereof.

          50. Denied. Further, denied where Defendant did not employ all the Plaintiffs, inclusive

  of Opt-In Plaintiffs, that are part of this action. Specifically, Defendant only employed (or still

  employs) the following individuals: Alfredo Justiz, Antonio Atiles, Dunieski Gonzalez, Elieser

  Perez, Feslio Francois, Gabriel Guzman, Jimmy Velazquez, Jorge Cruz, Jose Mejia, Jose Mejia,

  Jose Quesada, Juan Arguez, Manfred Oliva, Maria Aguilar, Yosbel Milan, Terrance Gaines, Roger

  Brooks, Rodolfo Torres, Ramon Jiron, Raul Gimenez, Ismely Alonso, Myriam Arreaga, and

  Misael Noriega. However, Defendant denies any claims asserted against it as it pertains to these

  plaintiffs where none of these plaintiffs filed claims, or otherwise alerted the Court to claims, in

  connection to their employment with Defendant as all the wage and hour claims asserted in this

  action arise prior to November 1, 2019 (the date Defendant became the employer). See DE 13.

  Further, Defendant denies any wrongdoing or liability and demands strict proof thereof.

          51. Denied. Further, denied where Defendant did not employ all the Plaintiffs, inclusive

  of Opt-In Plaintiffs, that are part of this action. Specifically, Defendant only employed (or still

  employs) the following individuals: Alfredo Justiz, Antonio Atiles, Dunieski Gonzalez, Elieser

  Perez, Feslio Francois, Gabriel Guzman, Jimmy Velazquez, Jorge Cruz, Jose Mejia, Jose Mejia,

  Jose Quesada, Juan Arguez, Manfred Oliva, Maria Aguilar, Yosbel Milan, Terrance Gaines, Roger

  Brooks, Rodolfo Torres, Ramon Jiron, Raul Gimenez, Ismely Alonso, Myriam Arreaga, and

  Misael Noriega. However, Defendant denies any claims asserted against it as it pertains to these

  plaintiffs where none of these plaintiffs filed claims, or otherwise alerted the Court to claims, in

  connection to their employment with Defendant as all the wage and hour claims asserted in this



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  action arise prior to November 1, 2019 (the date Defendant became the employer). See DE 13.

  Further, Defendant denies any wrongdoing or liability and demands strict proof thereof.

          Defendant denies that Plaintiffs are entitled to any relief in the Wherefore Clause, including

  all subparts, and demands strict proof thereof.

                                              COUNT II
                                 Violation of Florida Statute 138.110

          52.     Defendant incorporates by reference its answers and denials to paragraphs 1

  through 49 as if fully set forth herein.

          53. Denied. Further, denied where Defendant did not employ all the Plaintiffs, inclusive

  of Opt-In Plaintiffs, that are part of this action. Specifically, Defendant only employed (or still

  employs) the following individuals: Alfredo Justiz, Antonio Atiles, Dunieski Gonzalez, Elieser

  Perez, Feslio Francois, Gabriel Guzman, Jimmy Velazquez, Jorge Cruz, Jose Mejia, Jose Mejia,

  Jose Quesada, Juan Arguez, Manfred Oliva, Maria Aguilar, Yosbel Milan, Terrance Gaines, Roger

  Brooks, Rodolfo Torres, Ramon Jiron, Raul Gimenez, Ismely Alonso, Myriam Arreaga, and

  Misael Noriega. However, Defendant denies any claims asserted against it as it pertains to these

  plaintiffs where none of these plaintiffs filed claims, or otherwise alerted the Court to claims, in

  connection to their employment with Defendant as all the wage and hour claims asserted in this

  action arise prior to November 1, 2019 (the date Defendant became the employer). See DE 13.

  Further, Defendant denies any wrongdoing or liability and demands strict proof thereof.

          54. Denied. Further, denied where Defendant did not employ all the Plaintiffs, inclusive

  of Opt-In Plaintiffs, that are part of this action. Specifically, Defendant only employed (or still

  employs) the following individuals: Alfredo Justiz, Antonio Atiles, Dunieski Gonzalez, Elieser

  Perez, Feslio Francois, Gabriel Guzman, Jimmy Velazquez, Jorge Cruz, Jose Mejia, Jose Mejia,

  Jose Quesada, Juan Arguez, Manfred Oliva, Maria Aguilar, Yosbel Milan, Terrance Gaines, Roger
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  Brooks, Rodolfo Torres, Ramon Jiron, Raul Gimenez, Ismely Alonso, Myriam Arreaga, and

  Misael Noriega. However, Defendant denies any claims asserted against it as it pertains to these

  plaintiffs where none of these plaintiffs filed claims, or otherwise alerted the Court to claims, in

  connection to their employment with Defendant as all the wage and hour claims asserted in this

  action arise prior to November 1, 2019 (the date Defendant became the employer). See DE 13.

  Further, Defendant denies any wrongdoing or liability and demands strict proof thereof.

           Defendant denies that Plaintiffs are entitled to any relief in the Wherefore Clause, including

  all subparts, and demands strict proof thereof.

                             AFFIRMATIVE AND OTHER DEFENSES

           Subject to and without waiving the above denials, Defendant alleges the following further

  and separate defenses and affirmative defenses. In asserting the defenses that follow, Defendant

  does not assume the burden of proof as to matters that, pursuant to law, are Plaintiffs’ burden to

  prove.

                                             First Affirmative Defense

           Plaintiffs’ claims are barred as Defendant did not employ all the Plaintiffs, inclusive of

  Opt-In Plaintiffs, that are part of this action. Specifically, Defendant only employed (or still

  employs) the following individuals: Alfredo Justiz, Antonio Atiles, Dunieski Gonzalez, Elieser

  Perez, Feslio Francois, Gabriel Guzman, Jimmy Velazquez, Jorge Cruz, Jose Mejia, Jose Mejia,

  Jose Quesada, Juan Arguez, Manfred Oliva, Maria Aguilar, Yosbel Milan, Terrance Gaines, Roger

  Brooks, Rodolfo Torres, Ramon Jiron, Raul Gimenez, Ismely Alonso, Myriam Arreaga, and

  Misael Noriega. However, Defendant denies any claims asserted against it as it pertains to these

  plaintiffs where none of these plaintiffs filed claims, or otherwise alerted the Court to claims, in



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  connection to their employment with Defendant as all the wage and hour claims asserted in this

  action arise prior to November 1, 2019 (the date Defendant became the employer). See DE 13.

                                         Second Affirmative Defense

          Defendant denies it employed all of the Plaintiffs in this action and any plaintiffs employed

  by Defendant are not seeking damages in this action as part of his or her employment with

  Defendant. (see Defendant’s First Affirmative Defense). Pleading in the alternative and without

  admitting any wrongful conduct of Defendant or any of its employees, agents, or representatives,

  Plaintiffs’ claims are barred, in whole or in part, because their own acts or omissions caused or

  contributed to any alleged losses or injuries.

                                          Third Affirmative Defense

          Defendant denies it employed all of the Plaintiffs in this action and any plaintiffs employed

  by Defendant are not seeking damages in this action as part of his or her employment with

  Defendant. (see Defendant’s First Affirmative Defense). Pleading in the alternative and without

  admitting any wrongful conduct of Defendant or any of its employees, agents, or representatives,

  Plaintiffs failed to mitigate their damages.

                                         Fourth Affirmative Defense

          Defendant denies it employed all of the Plaintiffs in this action and any plaintiffs employed

  by Defendant are not seeking damages in this action as part of his or her employment with

  Defendant. (see Defendant’s First Affirmative Defense). Pleading in the alternative and without

  admitting any wrongful conduct of Defendant or any of its employees, agents, or representatives,

  Plaintiffs’ FLSA claims are barred in that the Defendant acted in good faith and had a policy

  requiring Plaintiffs to report any unpaid wages or overtime; Plaintiffs unreasonably failed to take



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  advantage of this policy and failed to notify Defendant that they felt they were owed unpaid

  overtime.

                                            Fifth Affirmative Defense

          Defendant denies it employed all of the Plaintiffs in this action and any plaintiffs employed

  by Defendant are not seeking damages in this action as part of his or her employment with

  Defendant. (see Defendant’s First Affirmative Defense). Pleading in the alternative and without

  admitting any wrongful conduct of Defendant or any of its employees, agents, or representatives,

  Plaintiffs are barred from the relief Plaintiffs seek by virtue of the following:

                 A. The doctrine of estoppel.

                 B. The doctrine of waiver.

                 C. The improper actions of Plaintiffs in failing to comply with the Defendant’s

                 policies and the directives of their superiors.

          If the facts reveal that Plaintiffs engaged in efforts to alter their time record or the time

  records of others, intentionally furnished false data to Defendant regarding their work activities or

  time worked, intentionally understated their time worked, failed to report time worked during their

  employment, or in any other way violated the established policies of Defendant with regard to

  employment or timekeeping practices, Plaintiffs should be estopped from recovering on any claim

  related to such violation of policy or from asserting a claim for liquidated damages. For the same

  reason, Plaintiffs’ claims are barred, in whole or in part, by the doctrine of unclean hands.

                                           Sixth Affirmative Defense

          Defendant denies it employed all of the Plaintiffs in this action and any plaintiffs employed

  by Defendant are not seeking damages in this action as part of his or her employment with

  Defendant. (see Defendant’s First Affirmative Defense). Pleading in the alternative and without

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  admitting any wrongful conduct of Defendant or any of its employees, agents, or representatives,

  Defendant is relieved of any liability to Plaintiffs due to Defendant’s good faith conformance and

  reliance on a written order, ruling, approval or interpretation by the Administrator of the

  Wage/Hour Division, Department of Labor and other relevant authorities.

                                         Seventh Affirmative Defense

          Defendant denies it employed all of the Plaintiffs in this action and any plaintiffs employed

  by Defendant are not seeking damages in this action as part of his or her employment with

  Defendant. (see Defendant’s First Affirmative Defense). Pleading in the alternative and without

  admitting any wrongful conduct of Defendant or any of its employees, agents, or representatives,

  Plaintiffs are not entitled to recover liquidated damages, costs, or attorney’s fees because

  Defendant acted in good faith and at no time during Plaintiffs’ employment or thereafter until the

  filing of this lawsuit did Plaintiffs ever allege or bring to Defendant’s attention the fact that

  Plaintiffs felt they were owed any overtime pay for which Plaintiffs were not paid.

                                          Eighth Affirmative Defense

          Defendant denies it employed all of the Plaintiffs in this action and any plaintiffs employed

  by Defendant are not seeking damages in this action as part of his or her employment with

  Defendant. (see Defendant’s First Affirmative Defense). Pleading in the alternative and without

  admitting any wrongful conduct of Defendant or any of its employees, agents, or representatives,

  any recovery by Plaintiffs and/or Plaintiffs’ damages, if any, must be offset by (1) any amounts

  the Defendant paid Plaintiffs for hours which were not actually worked by Plaintiffs; (2) any other

  overpayments made by Defendant to Plaintiffs; and (3) any amounts or benefits paid to Plaintiffs

  for lost wages, compensatory damages or fees from any other source.



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                                           Ninth Affirmative Defense

          Defendant denies it employed all of the Plaintiffs in this action and any plaintiffs employed

  by Defendant are not seeking damages in this action as part of his or her employment with

  Defendant. (see Defendant’s First Affirmative Defense). Pleading in the alternative and without

  admitting any wrongful conduct of Defendant or any of its employees, agents, or representatives,

  to the extent Plaintiffs were entitled to overtime and were not paid, such overtime worked by

  Plaintiffs beyond their compensated workweek, or any amount of unpaid wages, was de minimis.

                                           Tenth Affirmative Defense

          Defendant denies it employed all of the Plaintiffs in this action and any plaintiffs employed

  by Defendant are not seeking damages in this action as part of his or her employment with

  Defendant. (see Defendant’s First Affirmative Defense). Pleading in the alternative and without

  admitting any wrongful conduct of Defendant or any of its employees, agents, or representatives,

  if Plaintiffs were entitled to overtime, Plaintiffs are only entitled to overtime at the half-pay rate.

  Alternatively, Plaintiffs are only entitled to the federal minimum wage for any hours they claimed

  to be on call (if that time was compensable) and, therefore, they are only entitled to overtime at

  the rate of 1.5 times the federal minimum wage or, at most, 1.5 times of the weighted average of

  their hourly rate and the federal minimum wage.

                                         Eleventh Affirmative Defense

          Defendant denies it employed all of the Plaintiffs in this action and any plaintiffs employed

  by Defendant are not seeking damages in this action as part of his or her employment with

  Defendant. (see Defendant’s First Affirmative Defense). Pleading in the alternative and without

  admitting any wrongful conduct of Defendant or any of its employees, agents, or representatives,

  Plaintiffs’ claims are barred, in whole or in part, on the basis that, in the event Defendant violated

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  the FLSA, Defendants’ actions and/or the actions of its agents or employees were taken in good

  faith and were neither willful nor reckless.

                                         Twelfth Affirmative Defense

          Defendant denies it employed all of the Plaintiffs in this action and any plaintiffs employed

  by Defendant are not seeking damages in this action as part of his or her employment with

  Defendant. (see Defendant’s First Affirmative Defense). Pleading in the alternative and without

  admitting any wrongful conduct of Defendant or any of its employees, agents, or representatives,

  Plaintiffs’ claims for overtime wages fail as a matter of law either because Plaintiffs have not

  worked any overtime hours in a workweek or for any workweek in which Plaintiffs worked

  overtime hour, they were properly paid for all overtime hours worked.

                                       Thirteenth Affirmative Defense

          Defendant denies it employed all of the Plaintiffs in this action and any plaintiffs employed

  by Defendant are not seeking damages in this action as part of his or her employment with

  Defendant. (see Defendant’s First Affirmative Defense). Pleading in the alternative and without

  admitting any wrongful conduct of Defendant or any of its employees, agents, or representatives,

  Plaintiffs have failed to meet the necessary standard for an award of liquidated damages and are

  therefore not entitled to an award of liquidated damages as any violation of the FLSA was the

  result of a good faith belief that Plaintiffs were paid all of the money to which they were entitled.

                                       Fourteenth Affirmative Defense

          Defendant denies it employed all of the Plaintiffs in this action and any plaintiffs employed

  by Defendant are not seeking damages in this action as part of his or her employment with

  Defendant. (see Defendant’s First Affirmative Defense). Pleading in the alternative and without

  admitting any wrongful conduct of Defendant or any of its employees, agents, or representatives,

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  Plaintiffs are not entitled to any relief under the FLSA because they were justly compensated for

  all time they suffered or permitted to work.

           WHEREFORE, Defendant respectfully requests that this Court: (i) Enter judgment in

  its favor and against Plaintiffs; (ii) Award Defendant the costs of suit herein; (iii) Award

  Defendant its reasonable attorney’s fees as may be determined by the Court; and (iv) Grant such

  other and further relief as this Court may deem just and proper.

  Respectfully submitted on April 20, 2020.

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                                   CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on April 20, 2020, I electronically filed the foregoing document
  with the Clerk of the Court using CM/ECF. I also certify that the foregoing document is being
  served this day on all counsel of record identified on the attached Service List via transmission of
  Notice of Electronic Filing generated by CM/ECF and Electronic Mail.

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                      Lazaro Lopez, et al. v. Solar Bear Services, LLC, et. al.
                                  CASE NO.: 19-CV-25155-UU

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